             Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 1 of 13




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10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       )   CASE NO. 17-CR-533-EMC
14                                                   )
             Plaintiff,                              )   UNITED STATES’ STATEMENT REGARDING
15                                                   )   RULE 43 AND DEFENDANTS’ PRESENCE
        v.                                           )   DURING A DAUBERT HEARING
16                                                   )
     JONATHAN JOSEPH NELSON et al,                   )
17                                                   )
             Defendants.                             )
18                                                   )
                                                     )
19

20

21                                             INTRODUCTION
22           Because of the COVID-19 pandemic, on March 30, 2020, the Northern District of California
23 issued General Order 74, which directed hearings to be conducted telephonically or through video

24 conference. The Court had previously set the date for a Daubert hearing to evaluate enterprise expert

25 testimony proposed by the government for April 1, 2020. In the wake of General Order 74, the parties

26 and the Court discussed alternatives to an in-person hearing on this issue, including telephonic or video-

27 conference hearings. Some defendants objected to proceeding in this manner, largely on the basis that

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 1
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 2 of 13




 1 they could not be physically present and would not be able to see the witness in person and provide

 2 information to their counsel during the course of questioning.

 3          The Court inquired whether the defendants were actually required to be present during a Daubert

 4 hearing, as Federal Rule of Criminal Procedure 43(b)(3) states that a “defendant need not be present . . .

 5 [when] The proceeding involves only conference or hearing on a question of law.” The Court then

 6 invited briefing on the issue. The government respectfully submits that Defendants’ presence is not

 7 required for a hearing in which the Court exercises its gatekeeping function under Daubert.

 8                                                 ARGUMENT

 9 I.       There Is No Need For A Daubert Hearing, With Or Without Defendants’ Presence

10          To begin, the government echoes the Court’s observation during the last telephonic status

11 conference that the Court could decide the issue of admissibility of the enterprise experts’ testimony

12 without a hearing at all. This makes it evident that the defendants’ presence is not required for a

13 Daubert hearing. Indeed, the government submits that the defendants and the Court have more

14 information about the experts’ opinion and the bases for those opinions than any RICO defendant has

15 ever had in this district. See Dkt. 1000 (submitting expert disclosures from other cases). In fact, it is

16 unlikely that the defendants will be able to point to an expert disclosure that is as fulsome and detailed

17 as the disclosures in this case from a RICO case in any other district.

18          Moreover, the government has narrowed the proposed opinions in the expert notices to only

19 those topics that have been approved in other Northern District of California RICO cases involving

20 enterprise experts. See Dkt. 999, Exhibits 3 and 5 (latest enterprise expert notices). For example:

21 United States v. Cerna, No. CR 08-0730 WHA, Dkt. 2781, at 10 (December 17, 2010 Order):

22          . . . Sergeant Molina’s interpretation of code words, colors, tattoos, gang territory
            mapping, and symbols generally will assist the jury in understanding fact evidence
23
            otherwise presented at trial and will be allowed.
24          ****
            . . . Sergeant McDonnell’s opinions relating to code words, colors, tattoos, gang territory
25
            mapping, and symbols were based on more than conjecture — they were rooted in his
26          own repeated observations of gang turf delineations, colors, symbols, and tattoos, as well
            as his perception of code words. This will be allowed.
27

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 2
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 3 of 13




 1 United States v. Williams, No. CR 13-0764 WHO, Dkt. 927 at 8; 22 (March 9, 2016 Order):

 2          Sgt. Jackson’s opinions regarding CDP and other Western Addition gangs cover six basic
            topics: (1) common slang; (2) gang territory; (3) gang symbols; (4) gang alliances and
 3
            rivalries; (5) general characteristics of gangs, including common values and behaviors;
 4          and (6) use of rap music. Sgt. Jackson’s knowledge and experience qualify him to give
            expert testimony that will be helpful to jurors on the first three topics, but for a variety of
 5
            reasons he is precluded from giving opinions on the latter three.
 6
     United States v. Flores, No. CR 12-0119 SI, Dkt. 1085, at 2 (June 16, 2014 Order):
 7
            For example, a lay juror would probably not know much, if anything, about the colors
 8
            and symbols related to the various gangs in the Bay Area. Similarly, a juror would
 9          probably not understand the significance of specific gang tattoos or gang graffiti.
            Additionally, a juror might not know the meaning of certain terms such as to “put in
10
            work” for or be “jumped in” to a gang, or what a “kite” is. As a gang expert, Detective
11          Fukushima could clarify for the jury the meanings of these various terms and symbols.

12
     United States v. Cervantes, No. CR 12-0792 YGR, Dkt. 928, at 3 (February 9, 2016 Order):
13
            The Court finds that the government’s disclosures relating to Garrow and Livingston’s
14          testimony about gang colors, gang symbols, gang terminology, means of communication,
            and interstate commerce in relation to gangs suffice under Rule 16.
15

16
            Further, the Court has the benefit of briefing on the law of enterprise expert disclosures and
17
     opinion testimony, as the defense and the government have filed pre-hearing papers on their
18
     admissibility, including argument on whether the bases to support the proposed opinions are sufficient
19
     under Daubert. See Dkts. 984 and 999.
20
            Thus, while the government still believes that witness testimony may assist the Court in
21
     determining the reliability of the proposed experts, the Court currently has all the information it needs to
22
     rule on the admissibility of the proposed enterprise expert testimony without holding an evidentiary
23
     hearing.1
24

25

26          1
            As the Court knows, some of the experts’ testimony is based on internal Hells Angels
27 documents  that are cited in the expert disclosures themselves. If the Court elects to make a Daubert
   ruling without an evidentiary hearing, the government respectfully requests the opportunity to provide
28 those documents to the Court.
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 3
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 4 of 13




 1 II.      Daubert Hearings Are Legal Determinations

 2          A.      Rule 43 Indicates Defendants’ Presence Is Not Mandatory At Daubert Hearings

 3          Rule 43 is clear that a defendant has the right to be personally present at the initial appearance,

 4 initial arraignment, plea, every trial stage, including empanelment of the jury and return of verdict, and

 5 at sentencing. Fed. R. Crim. Proc. 43(a). It is equally clear that “a defendant need not be present . . . [if]

 6 the proceeding involves only a conference or hearing on a question of law.” Fed. R. Crim. Proc.

 7 43(b)(3). The Advisory Committee Notes for the 1944 adoption of the rule add further direction. “This

 8 principle [the necessity of the defendant’s presence] does not apply to hearings on motions made prior

 9 to or after trial.” Id., Note 1 (emphasis added).

10          Rule 43 offers defendants broader rights to be present at stages of the litigation against them than

11 the Constitution provides. “The statute sweeps more broadly than the corresponding constitutional right

12 because Rule 43 incorporated the more expansive common law understanding of the right as well as the

13 constitutional standard.” United States v. Reyes, 764 F.3d 1184, 1189 (9th Cir. 2014). Even with a

14 broader right, however, Rule 43 specifically exempts the right to be present from proceedings that

15 involve only a question of law. Fed. Rule Crim. Proc. 43(b)(3). “An issue can be a question of law,

16 moreover, although it may turn on a factual point, so long as it ‘is reserved for the court and excluded

17 from the jury.’” Reyes, 764 F.3d at 1191 (citation omitted). A trial court’s exercise of its gatekeeping

18 function under Daubert is precisely such a question.

19          Although the Ninth Circuit has not directly addressed whether a Daubert hearing requires the

20 defendant’s presence, it indicated that similar pre-trial motions do not. In United States v. Veatch, 674

21 F.2d 1217 (9th Cir. 1981), the court held that a conference regarding a motion in limine and a motion to

22 suppress evidence were properly held without the defendant being present. Id. at 1225. The court began

23 by observing that the right to be present at trial “is not all encompassing or absolute.” Id. (citations

24 omitted). It further found that the hearing was exempted from the presence requirement under Rule

25 43(b)(3) because “the matters discussed predominantly involved questions of law,” and therefore, the

26 defendant would have contributed nothing substantial to the opportunity to defend himself. Id. It also

27 determined that “the fairness of the trial was not detrimentally affected by [the defendant’s] absence

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 4
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 5 of 13




 1 since he was competently and effectively represented by counsel at the conference.” Id.

 2          In a similar way, the Sixth Circuit held that a pretrial motion to suppress hearing did not require

 3 the defendant’s presence.

 4          But Rule 43 does not apply to Burke’s suppression hearing. By its text, the rule applies
            through “every stage of the trial” beginning with the impaneling of the jury, and it applies
 5
            to only two pre-trial events—the arraignment and the plea. Consequently, the only way
 6          Burke’s pre-trial suppression hearing could be covered by Rule 43 is if the hearing
            somehow qualified as a “stage of the trial.”
 7

 8          The background of Rule 43 makes it clear that a pre-trial motion hearing is not a “stage
            of the trial.” The Advisory Committee Notes to the 1944 adoption of Rule 43 explained
 9
            that “[t]he first sentence of the rule setting forth the necessity of the defendant’s presence
10          at arraignment and trial is a restatement of existing law.”

11
     United States v. Burke, 345 F.3d 416, 422 (6th Cir. 2003) (footnote omitted). The Sixth Circuit
12
     considered the history of Rule 43 and the cases that have addressed it and found the following: “Overall,
13
     the authorities are nearly unanimous that Rule 43’s right to be present does not apply to pre-trial
14
     suppression hearings.” Id. at 423-424 (footnote omitted). In Burke, the hearing on the motion to
15
     suppress was conducted in a courtroom in Memphis, but the judge presiding over the hearing was
16
     located in Michigan and appeared through videoconferencing. This procedure was required “because
17
     there was a severe shortage of judges in the Western District of Tennessee just then.” Id. at 420. The
18
     defendant objected to this procedure during the hearing, and on appeal, argued that it violated his rights
19
     under Rule 26, Rule 43, and due process. The Sixth Circuit disagreed, because it was a pretrial
20
     proceeding at which the defendant’s presence was not required.
21
            In terms of the constitutional arguments the defendant in Burke raised, the Sixth Circuit found
22
     that his Confrontation Clause rights were not abridged. “But the physical confrontation right is not
23
     absolute, and alternatives such as video-confrontation may be acceptable where ‘necessary to further an
24
     important policy.’” Id. at 426 (quoting Maryland v. Craig, 497 U.S. 836, 852 (1990)). It also noted that
25
     the suppression hearing was not part of a trial. “Further, the Supreme Court has repeatedly explained
26
     that ‘[t]he right to confrontation is basically a trial right.’” Id. (quoting Barber v. Page, 390 U.S. 719,
27
     725 (1968); citing Pennsylvania v. Ritchie, 480 U.S. 39, 52–53 (1987); California v. Green, 399 U.S.
28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 5
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 6 of 13




 1 149, 157 (1970)).

 2          The Sixth Circuit also found no due process concerns. The court repeated the fact that the

 3 hearing on the motion to suppress was held prior to a trial. “Here again, however, the Court has held

 4 that ‘the process due at a suppression hearing may be less demanding and elaborate than the protections

 5 accorded the defendant at the trial itself.’” Id. (quoting United States v. Raddatz, 447 U.S. 667, 679

 6 (1980)). The court also found that it was “questionable whether Burke’s right to a fair and just hearing

 7 would have been thwarted even had he been entirely excluded from his suppression hearing.” Id.

 8          B.      The Court’s Role Under Daubert Is To Decide A Question Of Law

 9          The Federal Rules of Evidence permit an expert to provide opinion testimony if “scientific,

10 technical, or other specialized knowledge” will assist the trier-of-fact in understanding the evidence or

11 determining a fact in issue, so long as the witness is “qualified as an expert by knowledge, skill,

12 experience, training, or education.” Fed. R. Evid. 702. This rule imposes a “gatekeeping role” on the

13 trial judge to ensure that an expert’s testimony “both rests on a reliable foundation and is relevant to the

14 task at hand.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993). Testimony is “relevant

15 if the knowledge underlying it has a valid connection to the pertinent inquiry” and “reliable if the

16 knowledge underlying it has a reliable basis in the knowledge and experience of the relevant discipline.”

17 City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014) (quotation omitted).

18          The fact that the question of admissibility under Daubert is a question of law and is excluded

19 from the jury is shown by the distinction between the judge’s role as a gatekeeper and the jury’s role as

20 the finder of fact. “Daubert makes the district court a gatekeeper, not a fact finder. When credible,

21 qualified experts disagree, a criminal defendant is entitled to have the jury, not the judge, decide whether

22 the government has proved its case.” United States v. Sandoval-Mendoza, 472 F.3d 645, 654 (9th Cir.

23 2006) (reversing district court’s denial of expert testimony about defendant’s subnormal intelligence).

24 Daubert itself indicated that courts should permit the jury and the adversary system to perform their

25 functions, even where expert evidence may be “shaky.” “Vigorous cross-examination, presentation of

26 contrary evidence, and careful instruction on the burden of proof are the traditional and appropriate

27 means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596. This principle was

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 6
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 7 of 13




 1 reaffirmed by the Ninth Circuit. “Where, as here, the experts’ opinions are not the ‘junk science’ Rule

 2 702 was meant to exclude, the interests of justice favor leaving difficult issues in the hands of the jury

 3 and relying on the safeguards of the adversary system—‘[v]igorous cross-examination, presentation of

 4 contrary evidence, and careful instruction on the burden of proof’—to ‘attack[ ] shaky but admissible

 5 evidence.’” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1237 (9th Cir. 2017) (quoting Daubert,

 6 509 U.S. at 596). See also Primiano v. Cook, 598 F.3d 558, 567 (9th Cir. 2010) (“The district court’s

 7 other concerns . . . both might be useful to the jury as impeachment, but neither furnished an adequate

 8 basis for excluding his opinion.”) (reversing exclusion of expert medical opinion). “Basically, the judge

 9 is supposed to screen the jury from unreliable nonsense opinions, but not exclude opinions merely

10 because they are impeachable. The district court is not tasked with deciding whether the expert is right

11 or wrong, just whether his testimony has substance such that it would be helpful to a jury.” Alaska Rent-

12 A-Car, Inc. v. Avis Budget Group, Inc., 738 F.3d 960, 969-70 (9th Cir. 2013); City of Pomona, 750 F.3d

13 at 1044 (gatekeeping role involves “screen[ing] the jury from unreliable nonsense opinions, but not

14 exclud[ing] opinions merely because they are impeachable”) (quotation omitted).

15          What this means for a telephonic or video conference hearing in this case is that even if a

16 defendant listening to the government’s proposed experts heard a specific point and immediately wanted

17 to inform his counsel, “that’s not how the Hells Angels of Sonoma County actually operate,” it has no

18 bearing on whether the Court should admit the expert’s testimony. For an expert testifying on the basis

19 of his or her training and experience, the question for the Court in a Daubert challenge is not whether

20 the expert’s opinions are correct; it is whether their training and experience provide a sufficient

21 foundation for those opinions. “Our task, then, is to analyze not what the experts say, but what basis

22 they have for saying it.” Daubert v. Merrell Dow Pharmaceuticals, Inc. (“Daubert II”), 43 F.3d 1311,

23 1315 (9th Cir. 1995) (on remand from Daubert).

24          As an example, if the government notices a sex trafficking expert with the anticipated opinion

25 that many minor girls are brought into prostitution through threats of physical violence, the defense may

26 believe that opinion is wrong. They may have consulted experts who opine that most sex trafficking

27 victims become involved willingly, through romantic attachments, etc. The defense can cross examine

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 7
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 8 of 13




 1 the government’s expert witness at trial about the opinion regarding violence or can call their own

 2 experts to offer a contrary opinion. At the Daubert stage, the question for the Court is not whether the

 3 government expert is right. The question is how much training and experience the expert has. If a

 4 proposed sex trafficking expert has done little more than attended a single training session on the topic

 5 and reviewed popular media about pimping and prostitution, then his or her opinions will not have a

 6 sufficient basis to be put before the jury. If, on the other hand, the expert has worked in the field for

 7 years, has interviewed prostitutes and pimps, has observed their behavior, has read their literature, has

 8 attended and conducted numerous trainings and conferences on the issue, and has previously been

 9 recognized as an expert in the area, their opinion should pass muster as reliable.

10          Thus, whatever the defendants in this case may want to offer during the hearing to rebut the

11 opinions of the government’s enterprise experts—“what the experts say”—has no bearing on the Court’s

12 assessment of the critical issue in a Daubert hearing—“what basis they have for saying it.” Daubert II,

13 43 F.3d at 1315. This issue was squarely addressed in United States v. Karume, 841 F.3d 24 (1st Cir.

14 2016).

15          In Karume, the defendant claimed that his absence from the second day of a Daubert hearing for

16 an arson expert was a Confrontation Clause violation, a violation of due process, and a violation of Rule

17 43. The First Circuit held that there was Confrontation Clause violation that amounted to non-harmless

18 error because the defendant failed to establish how his presence would have made any difference.

19 “Karmue neither argues that the District Court’s ruling was erroneous nor explains how his presence at

20 the second day of the hearing could conceivably have revealed any error.” Id. at 27. The court found no

21 due process violation because the defendant failed to establish what impact his presence would have on

22 assessing the qualifications of the expert witness. “While Karmue does contend in his briefing to us that

23 he would have been able to assist counsel at the Daubert hearing, he does not explain what assistance he

24 could have rendered in a hearing about Reddy’s credentials as an expert.” Id. The First Circuit found

25 no violation of Rule 43 because the Daubert hearing was prior to the trial, and it cited two other cases in

26 which courts found no right to be present at similar pretrial hearings. Id. (citing Burke, 345 F.3d at 423–

27 24 (no right to be present at a pretrial suppression hearing); and Taylor v. United States, 385 F.2d 835,

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 8
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 9 of 13




 1 836 (8th Cir. 1967) (no right to be present for a hearing on motions in limine).

 2 III.     There Is No Due Process Right To Be Present At A Daubert Hearing

 3          The Supreme Court has held that a defendant has a due process right to be present at a

 4 proceeding “whenever his presence has a relation, reasonably substantial, to the fullness of his

 5 opportunity to defend against the charge.” Snyder v. Com. of Mass., 291 U.S. 97, 105-06 (1934),

 6 overruled on other grounds by Malloy v. Hogan, 378 U.S. 1, 84 S.Ct. 1489 (1964). However, the Court

 7 in Snyder also observed that nowhere in its previous decisions is there a ruling that “the Fourteenth

 8 Amendment assures the privilege of presence when presence would be useless, or the benefit but a

 9 shadow.” Id. at 106-07. “So far as the Fourteenth Amendment is concerned, the presence of a

10 defendant is a condition of due process to the extent that a fair and just hearing would be thwarted by his

11 absence, and to that extent only.” Id. at 107-08. This is directly related to the point made above that a

12 Daubert hearing is a question of law, not of fact, rendering the defendant’s presence of little utility.

13          Putting these principles into practice, Judge Koh has ruled that the exclusion of the defendant

14 from an initial jury screening process did not violate due process. Ervin v. Davis, 150 F.Supp.3d 1108

15 (N.D. Cal. 2015). In that habeas case, the defendant had been charged with first degree murder and

16 faced the death penalty. The trial judge approved a process by which the parties could jointly review the

17 questionnaires of prospective jurors and stipulate to excuse individuals “whose questionnaire answers

18 clearly showed they (1) would automatically vote for death, (2) would never vote for death, or (3)

19 suffered a financial or physical hardship preventing jury service.” Id. at 1128. Ultimately, this

20 processed winnowed 600 jurors from the pool without any further voir dire. The defendant did not

21 participate in these discussions.

22          Judge Koh initially observed that “voir dire is a critical stage of the criminal proceedings during

23 which a defendant has a constitutional right to be present.” Id. at 1129-30 (citing Gomez v. United

24 States, 490 U.S. 858, 873 (1989); United States v. Sherwood, 98 F.3d 402, 407 (9th Cir. 1996)).

25 However, because the defendant “was present during the remainder of the jury selection process and had

26 ample opportunity to observe jurors during voir dire and assist his attorneys in evaluating prospective

27 jurors,” Judge Koh determined that the defendant “failed to establish that his absence during the

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                 9
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 10 of 13




 1 screening of the jurors’ questionnaires frustrated the fairness of his proceedings.” Id.; see also Karume,

 2 841 F.3d at 27 (no due process violation where defendant was not present at Daubert hearing).

 3 IV.       There Is No Confrontation Clause Right To Be Present At A Daubert Hearing

 4           In United States v. Gagnon, 470 U.S. 522 (1985), the Supreme Court explained the purpose of

 5 the right to be present. “The constitutional right to presence is rooted to a large extent in the

 6 Confrontation Clause of the Sixth Amendment[.]” Id. at 526 (the defendant had no right to be present at

 7 an in camera conference with a juror who was disturbed by the fact that the defendant was drawing

 8 members of the jury during trial). The Confrontation Clause’s functional purpose is to ensure a

 9 defendant an opportunity for cross-examination. Id. At the same time, the Confrontation Clause

10 guarantees only “an opportunity for effective cross-examination, not cross-examination that is effective

11 in whatever way, and to whatever extent, the defense might wish.” Kentucky v. Stincer, 482 U.S. 730,

12 739 (1987) (emphasis original) (citations omitted).

13           In Stincer, the Court addressed a procedure in Kentucky in which the trial court had the

14 responsibility to determine whether a child witness was competent to give testimony based on the

15 child’s answers to questions regarding three basic issues: “whether the child is capable of observing and

16 recollecting facts, whether the child is capable of narrating those facts to a court or jury, and whether the

17 child has a moral sense of the obligation to tell the truth.” Id. at 741. In that case, the trial court

18 conducted an in camera hearing with the defense counsel and the prosecutor to determine whether two

19 young children were competent to provide evidence of the defendant’s sexual abuse. The defendant was

20 not at that hearing. Following the hearing, the trial court exercised its gatekeeping function and

21 determined that the children were competent. The Court found that the defendant’s absence did not

22 affect the ability to conduct cross examination because the two children later took the stand and were

23 subject to cross examination before the jury. Id. at 740. At that time, the defendant was present and

24 could assist his counsel as necessary. “Any questions asked during the competency hearing, which

25 respondent’s counsel attended and in which he participated, could have been repeated during direct

26 examination and cross-examination of the witnesses in respondent’s presence.” Id. “Because

27 respondent had the opportunity for full and effective cross-examination of the two witnesses during trial,

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                10
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 11 of 13




 1 and because of the nature of the competency hearing at issue in this case, we conclude that respondent’s

 2 rights under the Confrontation Clause were not violated by his exclusion from the competency hearing

 3 of the two girls.”

 4          The same principles apply here. In this case, if the defendants were not physically present at a

 5 Daubert hearing, they would not be denied the opportunity to cross examine the enterprise experts.

 6 First, their counsel would have ample opportunity to question the experts during that hearing. See

 7 Veatch, 674 F.2d at 1225 (“the fairness of the trial was not detrimentally affected by Veatch’s absence

 8 since he was competently and effectively represented by counsel at the conference”). Second, the

 9 defendants will be present at trial, when the experts’ testimony will be presented to the jury, and

10 whatever assistance they may be able to provide to counsel through their personal knowledge of the

11 Hells Angels enterprise can be employed in their defense at that time. This is consistent with the

12 principle that consideration of a defendant’s exclusion from a portion of the trial must be considered in

13 light of the whole record. Snyder, 291 U.S. at 115. Third, even if the Court accepts the defendants’

14 argument that their attorneys’ cross examination will be somehow less effective without sitting next to

15 them, the Supreme Court’s ruling in Stincer controls: “Of course, the Confrontation Clause guarantees

16 only an opportunity for effective cross-examination, not cross-examination that is effective in whatever

17 way, and to whatever extent, the defense might wish.” 482 U.S. at 739 (emphasis original) (citation

18 omitted).

19 V.       The Court Must Weigh Practical Considerations In Assessing Whether To Hold A Hearing
            Without The Defendants’ Presence
20

21          The Supreme Court has often indicated that the right to be present sometimes must be weighed

22 against other interests, including the practicalities of trial and “the necessity for preserving society’s

23 interest in the administration of criminal justice.” Rushen v. Spain, 464 U.S. 114 (1983) (reversing grant

24 of a new trial because of trial judge’s unrecorded ex parte communications with a juror outside the

25 defendant’s presence); id. at 118-19 (“The lower federal courts’ conclusion that an unrecorded ex parte

26 communication between trial judge and juror can never be harmless error ignores these day-to-day

27 realities of courtroom life and undermines society’s interest in the administration of criminal justice.”);

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     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                11
     17-CR-533-EMC
            Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 12 of 13




 1 see also Gagnon, 470 U.S. at 529 (“This analysis [no right to be present for in camera discussion with

 2 juror] comports both with the language of Rule 43 and with the everyday practicalities of conducting a

 3 trial.”).

 4             The reality that practical considerations sometimes need to be considered in assessing a

 5 defendant’s right to presence can be seen in the Ninth Circuit’s decision in United States v. Yepiz, 673

 6 Fed. Appx. 691 (9th Cir. 2016) (unpublished), amended by United States v. Yepiz, 718 Fed. Appx. 456

 7 (9th Cir. 2017) (unpublished). In Yepiz, the court found that a voir dire procedure where juror sidebars

 8 were conducted in the jury room, outside the presence of the defendants, did not violate the defendants’

 9 constitutional right to presence. Id. at 698. The reason for their exclusion was that the defendants could

10 not be moved to the jury room without the prospective jurors noticing their shackles. The court found

11 that the “voir dire procedures fashioned by the district court did not violate defendants’ constitutional

12 right to presence, which must at times yield to the ‘day-to-day realities of courtroom life,’ as well as

13 ‘society’s interest in the administration of criminal justice.’” Id. at 698-699 (quoting Rushen, 464 U.S.

14 at 119). “In this case, the district court provided defendants as much ability to observe prospective

15 jurors and participate in the voir dire process as possible in light of the countervailing considerations of

16 security, juror privacy, and courtroom logistics.” Id.

17             For the defendant here, practical considerations cut in two different directions. On the one hand,

18 if the Court determines that a Daubert hearing is necessary, there is no need to hold the hearing during

19 the pendency of General Order 74. Even with a proposed trial date sometime in December 2020,

20 postponing the Daubert hearing until after the restrictions imposed by the COVID-19 pandemic have

21 eased will not impact the trial. Daubert hearings are frequently held closer to trial than the seven or

22 eight months proposed in this case. In addition, the defense is well aware of the proposed expert

23 testimony. If the Court rules that the experts’ training and experience provide a sufficient basis for their

24 opinions, there will be no surprise for the defense, even if such a ruling is made on the eve of trial.

25             On the other hand, if the defendants insist on holding a Daubert hearing in the very near future,

26 then the practical realities of the pandemic dictate that the hearing will have to be held telephonically or

27 through video conference. To the extent that some defendants object to proceeding in this fashion, as

28
     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                12
     17-CR-533-EMC
           Case 3:17-cr-00533-EMC Document 1030 Filed 04/24/20 Page 13 of 13




 1 discussed above, they do not have a right to be physically present during the hearing.

 2                                              CONCLUSION

 3          The government respectfully submits that if the Court elects to hold a Daubert hearing while the

 4 COVID-19 pandemic makes it impossible for the defendants to be physically present, this would not

 5 infringe any of their rights under the Confrontation Clause, due process, or Rule 43.

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 7 DATED: April 24, 2020                                        Respectfully submitted,

 8                                                              DAVID L. ANDERSON
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                                                                _/s/_________________
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12                                                              Assistant United States Attorneys
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     UNITED STATES’ STATEMENT RE: DEFENDANTS’ PRESENCE AT A DAUBERT
     HEARING                                13
     17-CR-533-EMC
